   Case 3:18-cv-00117-B Document 48 Filed 07/22/19                  Page 1 of 2 PageID 377


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

LYNDO JONES,                                         §
    Plaintiff,                                       §
                                                     §
                                                     §       CIVIL ACTION NO. 3:18-CV-00117-B
                 v.                                  §
                                                     §
                                                     §       JURY TRIAL DEMANDED
                                                     §
CITY OF MESQUITE, TEXAS AND DERRICK                  §
WILEY,                                               §
      Defendants.
                        REPORT TO THE COURT

 TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff and files this Report to the Court in connection with the retrial

for the criminal prosecution of Defendant Derick Wiley.

       On July 15, 2019, the retrial for the criminal prosecution of Derick Wiley started. After a

week of trial, on July 19, 2019, both sides rested and immediately thereafter the case was given

to the jury for deliberations. The Jury will resume deliberations and are likely to reach a decision

as early as today, thereby making the Motion for a Stay to Secure a Fair Trial or in the

Alternative, Motion for Protective Order (Doc. 34), moot.

                                              Respectfully submitted,

                                              WASHINGTON LAW FIRM, P.C.

                                              By: /s/ Daryl K. Washington
                                                  Daryl K. Washington
                                                  Texas Bar No. 24013714
                                                  325 N. St. Paul, Suite 3950
                                                  Dallas, Texas 75201
                                                  dwashington@dwashlawfirm.com
                                                  Telephone: (214) 880-4883
                                                  Facsimile: (214)751-6685
                                                  ATTORNEY FOR PLAINTIFF
   Case 3:18-cv-00117-B Document 48 Filed 07/22/19                 Page 2 of 2 PageID 378


                                CERTIFICATE OF SERVICE

       I hereby certify that on July 22, 2019, the foregoing pleading was filed with the clerk of

the court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to all

attorneys of record who have consented in writing to accept this Notice as service of documents

by electronic means.



                                             /s/ Daryl K. Washington
                                             DARYL K. WASHINGTON
